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AO 91 (Rev, ll/l l) Criminal Complaint

 

UNITED STATES DISTRICT CoURT
forthe \UiN 3 l ZUiS

Southern District of Texas

 

 

 

Dav§d d. Bradley, Qled€
United States of America )
v. )
Rogelio VlLLARREAL-Estebis ) Case N°' M’ /E 0 zz/ M
DoB: 1932 )
citizenship: usA )
)
)
Dekndant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 30, 2018 in the county of HidalQO in the
Southem District of Texas , the defendant(s) violated:
Coa’e Seclion O]j‘ense Description
21 USC § 952 l||ega| lmportation of a Controlled Substance / Approximate|y 16.82

Ki|ograms of Cocaine, a Schedu|e || Contro||ed Substance.

This criminal complaint is based on these facts:

See Attachment "A"

il Continued on the attached sheet.

%f&*<bz%/ iComplcn`nant ’s signature

Bradley M. Gaines, HS| Specia| Agent

Printecl name and title

 

 

Sworn to before me and signed in my presencel

Date: ___'WO_'IB___§.'& § a \.-'A_ //Z ;@~/¢M/‘~/§

Jua’ge ’S signature /

City and state: N|CA|\€H. Texas U.S. Nlagistrate Judge Peter Ormsby

Printed name and title

 

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Attachment “A”

I, Bradley M. Gaines, am a Special Agent of the United States Homeland Security Investigations
(HSI), and have knowledge of the following facts:

l.

On January 30, 2018, Homeland Security lnvestigations in McAllen, Texas, (HSI McAllen)
received a request for investigative assistance from the U.S. Customs and Border Protection
Offrce of Field Operations at the Pharr Port of Entry (POE) in Pharr, TeXas. CBP Offlcers
(CBPOS) detained Rogelio VlLLARREAL-Estebis (hereafter VILLARREAL), a citizen of
the United States, while attempting to enter the U.S. with approximately 16.82 kilograms
(kg) of cocaine concealed within the floor of the Dodge .lourney sport utility vehicle he was

driving The vehicle was registered to VILLARREAL. VILLARREAL was accompanied by
two of his minor children

During primary inbound inspection, CBP Officers (CBPOS) obtained a negative oral
declaration for fruits, food, alcohol, tobacco, drugs, weapons and currency over Sl0,000.00.
CBPOS observed nervousness, trembling hands, lack of eye contact and stuttering speech
from VILLARREAL. CBPOS referred VILLARREAL and the vehicle to secondary
inspection for an intensive examination

. During secondary inspection, CBPOS conducted a non-intrusive X-Ray inspection and

discovered anomalies in the floor of the vehicle. A CBP K-9 narcotics detection team
conducted a free air inspection which resulted in a positive alert for the odor of narcotics
emanating from the vehicle.

A physical search of the vehicle discovered a concealed aftermarket constructed
compartment in the floor of the vehicle. lnside the compartment, 15 cellophane wrapped
packages were discovered CBPOS field tested the substance inside the packages, which was
positive for the characteristics of cocaine.

Homeland Security lnvestigations (HSI), Special Agents (SA) responded to the Pharr POE to
assist in the investigation HSI SAs interviewed VILLARREAL who (post-Miranda
warning) denied any knowledge of the cocaine VILLARREAL stated the vehicle was
owned by him and he was the only person who had driven or had access to the vehicle.

VlLLARREAL will be charged With Illegal lmportation of a Controlled Substance, in
violation of 21 USC § 952.

